     Case 3:19-cv-03309-JD         Document 396          Filed 01/21/25   Page 1 of 16



1    FAEGRE DRINKER BIDDLE & REATH LLP
     David J.F. Gross (SBN 290951)
2    david.gross@faegredrinker.com
     4800 North Scottsdale Road, Suite 2200
3    Scottsdale, AZ 85251
     Telephone: (480) 643-1850
4
     Aaron D. Van Oort (pro hac vice)
5    aaron.vanoort@faegredrinker.com
     2200 Wells Fargo Center
6    90 South 7th Street
     Minneapolis, MN 55402
7    Telephone: (612) 766-7000
8    Counsel for Defendants Realogy Holdings Corp.,
     Realogy Intermediate Holdings LLC, Realogy
9    Services Group LLC, Realogy Group LLC,
     and Realogy Brokerage Group LLC (f/k/a NRT LLC)
10
                                UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
12

13    SARAH BUMPUS, MICHELINE PEKER,                     Case No. 3:19-cv-03309-JD
      and CHERYL ROWAN, individually, and on
14    behalf of a class of similarly situated persons,   DEFENDANTS’ BRIEF IN SUPPORT OF
                                                         PRELIMINARY SETTLEMENT
15                           Plaintiffs,                 APPROVAL
             v.
16                                                       Date: February 27, 2025
      REALOGY HOLDINGS CORP.;                            Time: 10:00 a.m.
17    REALOGY INTERMEDIATE HOLDINGS                      Place: Courtroom 11, 19th Floor
      LLC; REALOGY GROUP LLC; REALOGY                    Judge: Honorable James Donato
18    SERVICES GROUP LLC; and REALOGY
      BROKERAGE GROUP LLC (f/k/a NRT
19    LLC),
                      Defendants.
20

21

22

23

24

25

26

27

28
                  DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                            Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
     Case 3:19-cv-03309-JD                 Document 396                 Filed 01/21/25               Page 2 of 16



1                                                  TABLE OF CONTENTS
2 I.       INTRODUCTION ...............................................................................................................1
3 II.      BACKGROUND .................................................................................................................2
4          A. The Certified Litigation Classes ....................................................................................2
5          B. The Major Errors Revealed Within The Litigation Classes...........................................3
6          C. The Settlement Agreement ............................................................................................4
7 III.     ARGUMENT .......................................................................................................................5
8          A. Legal Standard ...............................................................................................................5
9          B. The Settlement Pays More Than The Claims Are Worth, Given The Imminent
              Risk of Class Decertification or a Total Class Loss at Trial. .........................................5
10
                1. The litigation classes contained massive numbers of people with no claims
11                 and hence at trial would either be decertified or lose for failure to prove
                   classwide liability.....................................................................................................6
12
                2. The litigation classes would also lose on a common basis for several
13                 reasons....................................................................................................................10
14 IV.     CONCLUSION ..................................................................................................................12
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                  DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                                 Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                             i
     Case 3:19-cv-03309-JD                   Document 396               Filed 01/21/25            Page 3 of 16



 1                                                TABLE OF AUTHORITIES
 2 Cases                                                                                                                       Page(s)
 3 AT&T Mobility LLC v. Concepcion,

 4   563 U.S. 333, 350 (2011) ...........................................................................................................1

 5 Brown v. Hain Celestial Grp., Inc.,
      No. 3:11-CV-03082-LB, 2015 WL 12915098 (N.D. Cal. Oct. 8, 2015) ...................................7
 6
   Chennette v. Porch.com, Inc.,
 7    50 F.4th 1217 (9th Cir. 2022) ..................................................................................................8, 9
 8 Chinitz v. Intero Real Est. Servs.,
      No. 18-CV-05623-BLF, 2022 WL 16528137 (N.D. Cal. Oct. 28, 2022) ..................................7
 9

10 Class Plaintiffs v. City of Seattle,
      955 F.2d 1268 (9th Cir. 1992) ...................................................................................................5
11
   Dorfman v. Albertsons, LLC,
12    No. 1:18-CV-00094-EJL, 2019 WL 5873448 (D. Idaho Feb. 12, 2019) ...................................3
13 Fitzhenry v. ADT Corp.,
       No. 14-80180, 2014 WL 6663379 (S.D. Fla. Nov. 3, 2014) .....................................................3
14
   Koeppen v. Carvana, LLC,
15
       No. 21-CV-01951-TSH, 2024 WL 1974545 (N.D. Cal. May 3, 2024) .....................................5
16
   Nat'l Rural Telecommunications Coop. v. DIRECTV, Inc.,
17     221 F.R.D. 523 (C.D. Cal. 2004) ...............................................................................................5

18 Pacheco v. JPMorgan Chase Bank, N.A.,
      No. 3:15-CV-05689-JD, 2017 WL 3335844 (N.D. Cal. Aug. 4, 2017) ....................................5
19
   Reyes v. Educ. Credit Mgmt. Corp.,
20
      773. F. App'x 989 (9th Cir. 2019) ............................................................................................12
21
   Rodriguez v. W. Publ'g Corp.,
22    563 F.3d 948 (9th Cir. 2009) .....................................................................................................5

23 Rombough v. Robert D. Smith Ins. Agency, Inc.,
      2022 WL 2713278 (N.D. Iowa June 9, 2022)............................................................................9
24
   Sandoe v. Bos. Sci. Corp.,
25    333 F.R.D. 4 (D. Mass. 2019) ..............................................................................................7, 10
26
   Sapan v. Yelp, Inc.,
27    No. 3:17-CV-03240-JD, 2021 WL 5302908 (N.D. Cal. Nov. 15, 2021) ........................1, 9, 11

28
                      DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                                    Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                               ii
      Case 3:19-cv-03309-JD                      Document 396                Filed 01/21/25              Page 4 of 16



 1 Shuckett v. DialAmerica Mktg., Inc.,
       No. 17CV2073-LAB (KSC), 2019 WL 3429184 (S.D. Cal. July 30, 2019) .............................6
 2
   In re Tableware Antitrust Litig.,
 3
       484 F. Supp. 2d 1078 (N.D. Cal. 2007) .....................................................................................5
 4
   True Health Chiropractic Inc. v. McKesson Corp.,
 5     2021 WL 4818945 (N.D. Cal. Oct. 15, 2021)..........................................................................10

 6 Wilson v. Badcock Home Furniture,
      329 F.R.D. 454 (M.D. Fla. 2018)...............................................................................................7
 7
   Statutes, Rules & Regulations
 8
   47 C.F.R. § 64.1200(a)(3) ................................................................................................................8
 9

10 47 C.F.R. § 64.1200(c)(2) ............................................................................................................8, 9

11 47 C.F.R. § 64.1200(f)(15) ............................................................................................................11

12 47 U.S.C. § 227(a)(4).....................................................................................................................11

13 47 U.S.C. § 227(b)(1)(B) .................................................................................................................8

14 47 U.S.C. § 227(c) ...........................................................................................................................8

15 47 U.S.C. § 227(c)(5).......................................................................................................................6

16 Fed. R. Civ. P. 23(e) ........................................................................................................................5

17
      Fed. R. Civ. P. 23(e)(2) ....................................................................................................................5
18
      Fed. R. Civ. P. 23(e)(2)(C)(i) .....................................................................................................5, 12
19

20

21

22

23

24

25

26

27

28
                        DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                                       Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                                  iii
     Case 3:19-cv-03309-JD         Document 396        Filed 01/21/25      Page 5 of 16



 1 I.       INTRODUCTION
 2          The Realogy Defendants join Plaintiffs in respectfully requesting the Court to
 3 preliminarily approve the Settlement because the record shows it to be fair, reasonable, and

 4 adequate to class members. Indeed, the Settlement is more than fair, reasonable, and adequate

 5 because if this case proceeded to trial, Plaintiffs would certainly lose. The litigation classes

 6 Plaintiffs’ expert Anya Verkhovskaya proposed and led this Court to certify contain literally

 7 hundreds of thousands of people who have no possible claim against Realogy under the

 8 Telephone Consumer Protection Act (“TCPA”). Verkhovskaya included people called by

 9 Realogy’s competitors, people who had established business relationships with the brokerages

10 who called them, people who never registered their numbers on the national Do Not Call list,

11 people who never received a call, people called on business numbers, and on and on. At trial,

12 Verkhovskaya’s methodology would have been revealed to be of “questionable reliability and

13 validity,” just as this Court found in another TCPA case where Verkhovskaya was the expert and

14 the Court denied class certification. Sapan v. Yelp, Inc., No. 3:17-CV-03240-JD, 2021 WL

15 5302908, at *3 (N.D. Cal. Nov. 15, 2021). Her testimony would be excluded and the classes

16 decertified. Moreover, the classes would be decertified regardless of whether Verkhovskaya’s

17 testimony was excluded because liability turns on repeated individual questions, including

18 whether the person who made a call was a Coldwell Banker realtor, whether a call was received

19 or instead dropped, blocked, or made to disconnected numbers, whether the called number was

20 residential or business, and whether the called person invoked do-not-call protection by

21 registering the number or instead whether the number was reassigned after someone else

22 registered it. And if the classes were not decertified, they would lose on the merits.

23          Realogy reached a settlement in this case not because Plaintiffs have valid claims but
24 because it would be imprudent to take any risk of an annihilating statutory-damages judgment,

25 given that the real estate brokerage industry is in the third year of the worst real estate market in

26 half a century. See AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 350 (2011) (“[W]hen

27 damages allegedly owed to tens of thousands of potential claimants are aggregated and decided

28 at once, the risk of an error will often become unacceptable. Faced with even a small chance of a
                 DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                            Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                       1
     Case 3:19-cv-03309-JD        Document 396          Filed 01/21/25    Page 6 of 16



1 devastating loss, defendants will be pressured into settling questionable claims.”). The $20

2 million fixed-fund Settlement mitigates that risk and pays class members more than their

3 unfounded claims are worth. Realogy therefore joins in asking the Court to preliminarily approve

4 the Settlement and authorize notice to be sent.

5 II.       BACKGROUND
6           A.       The Certified Litigation Classes
7           On March 23, 2022 this Court certified two litigation classes for trial, a National Do Not
8 Call Class (“NDNC class”), defined as:

9                   All persons in the U.S. who received two or more calls made by a Coldwell
            Banker-affiliated Agent using a Mojo, PhoneBurner, and/or Storm dialer in any 12 month
10          period on a residential landline or cell phone number that appeared on the National Do
11          Not Call Registry for at least 31 days for the time period beginning June 11, 2015, to
            present
12
            And a Prerecorded Message Class, defined as:
13
                    All persons in the United States who received a call on their residential telephone
14          line or cell phone number with an artificial or prerecorded message, as indicated by the
            following call disposition codes: (i) “Drop Message” (if using the Mojo dialer), (ii)
15          “ATTENDED_TRANSFER” (if using the Storm dialer), and (iii) “VOICEMAIL” (if
16          using a PhoneBurner dialer) in the call records listed in Appendix A and made by a
            Coldwell Banker-affiliated Agent for the time period beginning June 11, 2015, to present.
17
     (Dkt. 223.)
18
            These class definitions were based entirely on the analysis and opinions of Plaintiffs’
19
     expert, Anya Verkhovskaya. According to Verkhovskaya, she could deduce from dialing records
20
     produced by third parties Mojo, PhoneBurner, and Storm that there were 245,302 telephone
21
     numbers in the NDNC Class and 201,001 telephone numbers in the Prerecorded Message Class.
22
     (Dkt. 206-1, Ex. 1, Verkhovskaya Report ¶¶ 125, 128.) Based on the explanation of
23
     Verkhovskaya’s methodology Plaintiffs provided to the Court during class certification, the
24
     Court understood Verkhovskaya to have “identified calls that were completed and had non-
25
     zero durations, and were made on behalf of Realogy based on a list of names of Realogy
26
     agents.” (Dkt. 223 at 5:10-12 (emphasis added).) In fact, none of this was true. Verkhovskaya
27
     had not limited her classes to calls “made on behalf of Realogy,” she had not limited them to
28
                   DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                            Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                       2
     Case 3:19-cv-03309-JD        Document 396        Filed 01/21/25      Page 7 of 16



 1 calls that were “completed,” and she had affirmatively included hundreds of thousands of calls

 2 with zero duration. Realogy laid bare these fundamental defects in its pretrial exchanges, and

 3 Plaintiffs saw them.

 4          B.     The Major Errors Revealed Within The Litigation Classes
 5          Seeing that Verkhovskaya’s methodological failures would be revealed in stark detail at
 6 trial, Plaintiffs filed a motion seeking major modifications to the certified classes. Among other

 7 things, Plaintiffs proposed to remove all calls associated with recordings that did not identify

 8 Coldwell Banker, and they further proposed to remove all zero-second “No Answer” disposition

 9 calls from the NDNC class. (Dkts. 329 (original motion), 372 (corrected motion) at 3-4.)

10          In response, Realogy requested decertification of both classes because Plaintiffs’ own
11 motion had revealed the gross errors in Verkhovskaya’s analyses and shown that Plaintiffs’

12 claims could not be tried with common evidence. (Dkt. 329.) For example, Plaintiffs’ motion

13 showed that they could not even accurately identify calls made by Coldwell Banker real estate

14 agents without relying on individual evidence. Whereas they had previously told the Court that

15 Verkhovskaya’s Soundex name-matching methodology was “tried-and-true,” they “refused to

16 disclose Verkhovskaya’s list of alleged matches to prevent it from being checked” (id. at 14),

17 and now “their new, manual name-matching methodology excludes 37,840 calls from the Do

18 Not Call class and 34,259 calls from the Prerecorded Message class that Verkhovskaya opined

19 were made by Coldwell Banker independent realtors” (id. at 6). Even then, the identification

20 remained flawed. Based on listening to individual call recordings, Plaintiff excluded another

21 “98,335 calls in the Do Not Call class and 64,812 calls in the Prerecorded Message class that

22 Verkhovskaya had wrongly included.” (Id.) Needing to individually listen to recorded messages

23 would preclude class certification. See, e.g., Dorfman v. Albertsons, LLC, No. 1:18-CV-00094-

24 EJL, 2019 WL 5873448, at *4 (D. Idaho Feb. 12, 2019) (“Because the Court would also need to

25 make individualized inquiries into the circumstances and content of the calls other class

26 members received, the Court agrees with Defendant that no common question predominates

27 ….”); Fitzhenry v. ADT Corp., No. 14-80180, 2014 WL 6663379, at *7 (S.D. Fla. Nov. 3, 2014)

28
                 DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                           Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                      3
     Case 3:19-cv-03309-JD          Document 396        Filed 01/21/25       Page 8 of 16



 1 (“[L]istening to 36,748 phone calls … demonstrates that Plaintiff has not met his burden of

 2 showing that common questions predominate over individual issues.”).

 3          Plaintiffs’ motion also showed that, contrary to the Court’s understanding, Verkhovskaya
 4 had included literally hundreds of thousands of zero-second calls in her NDNC class. (Dkt. 329

 5 at 17.). The exact number of zero-second calls could not be verified by either Realogy or the

 6 Court because Verkhovskaya did not “disclose which calls in her classes lasted zero seconds and

 7 which ones lasted longer.” (Id.) In addition, removing the zero-second calls would not cure the

 8 individual-evidence problems because “evidence shows that prerecorded messages sometimes

 9 are not delivered even when the dialer records indicate they might have been.” (Id.)

10          At the hearing on June 20, 2024, the Court described in compelling language the risk of
11 class decertification that Plaintiffs would face in proceeding to trial: “I am persuaded, now, that

12 your punitive [sic] expert does not have a sound, reasonable, and valid method for satisfying the

13 23(a) and 23(b)(3) inquiries on commonality and predominance. It just doesn’t. This is -- you

14 know -- you took -- you took a cake, and you cut out cookie-cutter holes all over it. It’s the

15 opposite of commonality and predominance. And there just isn’t a method here that works.”

16 (Dkt. 388 at 5:5-12.) The Court further stated: “I don’t see any option here but to decertify this

17 class. I mean, you have now persuaded me that there’s just no commonality of proof. There’s no

18 predominance.” (Dkt. 388 at 2:24-3:1.) Ultimately, the Court denied Plaintiffs’ motion to modify

19 the classes and deferred a final ruling on class decertification until trial, stating: “The parties will

20 be free at trial to examine plaintiffs’ experts with respect to the issues in the modification

21 request. After a full record is developed at trial, plaintiffs may renew their request, and

22 defendants may propose to decertify some or all of the classes, as the evidence warrants.” (Dkt.

23 390.)

24          C.      The Settlement Agreement
25          After the June 20, 2024 hearing, the parties revisited their prior settlement negotiations in
26 light of the Court’s comments. They ultimately agreed on a $20 million settlement. The

27 Settlement Class includes the entire Prerecorded Message class as originally certified by this

28 Court. The NDNC portion of the Settlement Class excludes all phone numbers that received only
                  DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                             Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                        4
     Case 3:19-cv-03309-JD          Document 396        Filed 01/21/25       Page 9 of 16



1 zero-second calls with “No Answer” dispositions, consistent with the Court’s understanding of

2 what it originally thought was certified.

3
     III.   ARGUMENT
4
            A.      Legal Standard
5
            “The claims, issues, or defenses of a certified class—or a class proposed to be certified
6
     for purposes of settlement—may be settled, voluntarily dismissed, or compromised only with the
7
     court's approval.” Fed. R. Civ. P. 23(e). Class action settlements are to be approved when they
8
     are “fair, reasonable, and adequate[.]” Fed. R. Civ. P. 23(e)(2) (listing factors). “[T]here is a
9
     ‘strong judicial policy that favors settlements, particularly where complex class action litigation
10
     is concerned.’” Pacheco v. JPMorgan Chase Bank, N.A., No. 3:15-CV-05689-JD, 2017 WL
11
     3335844, at *2 (N.D. Cal. Aug. 4, 2017) (Donato, J.) (quoting Class Plaintiffs v. City of Seattle,
12
     955 F.2d 1268, 1276 (9th Cir. 1992)). “In most situations, unless the settlement is clearly
13
     inadequate, its acceptance and approval are preferable to lengthy and expensive litigation with
14
     uncertain results.” Nat'l Rural Telecommunications Coop. v. DIRECTV, Inc., 221 F.R.D. 523,
15
     526 (C.D. Cal. 2004).
16
            “Preliminary approval is appropriate where ‘the proposed settlement appears to be the
17
     product of serious, informed, non-collusive negotiations, has no obvious deficiencies, does not
18
     improperly grant preferential treatment to class representatives or segments of the class, and falls
19
     within the range of possible approval.’” Koeppen v. Carvana, LLC, No. 21-CV-01951-TSH,
20
     2024 WL 1974545, at *4 (N.D. Cal. May 3, 2024) (quoting In re Tableware Antitrust Litig., 484
21
     F. Supp. 2d 1078, 1079 (N.D. Cal. 2007)).
22
            B.      The Settlement Pays More Than The Claims Are Worth, Given The
23                  Imminent Risk of Class Decertification or a Total Class Loss at Trial.
            In assessing whether a class settlement is fair, reasonable, and adequate, the lead
24
     consideration is whether “the relief provided for the class is adequate, taking into account,”
25
     among other things, “the costs, risks, and delay of trial and appeal.” Fed. R. Civ. P.
26
     23(e)(2)(C)(i). Among the risks courts consider are the risks of decertification and of a loss on
27
     the merits. See, e.g., Rodriguez v. W. Publ'g Corp., 563 F.3d 948, 966 (9th Cir. 2009) (holding
28
                  DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                             Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                        5
     Case 3:19-cv-03309-JD         Document 396        Filed 01/21/25       Page 10 of 16



 1 that risk of decertification of the nationwide class weighed in favor of settlement). Here, if

 2 Plaintiffs took this case to trial, they were certain to face either decertification or a classwide loss

 3 given the stark errors in Verkhovskaya’s methodology, which resulted in including literally

 4 hundreds of thousands of people with no TCPA claim in her classes. Beyond that, Plaintiffs

 5 would also lose on the merits for several common reasons.

 6              1. The litigation classes contained massive numbers of people with no claims
                   and hence at trial would either be decertified or lose for failure to prove
 7                 classwide liability.
 8
            First, the evidence at trial will show beyond dispute that many people within the certified
 9
     litigation classes do not have TCPA claims, requiring either decertification or a complete defense
10
     verdict. Realogy summarizes in this brief what it covered at greater detail in the joint pretrial
11
     statement (Dkt. 353) and its opposition to Plaintiffs’ motion to modify the classes (Dkt. 329).
12
            “No Answer” Zero-Duration Calls
13
            Verkhovskaya’s NDNC class includes hundreds of thousands of calls to nearly 78,000
14
     telephone numbers that had zero-second duration and a software-recorded disposition of “No
15
     Answer.”1 Consistent with the zero-second duration, dialer documentation indicates that the “No
16
     Answer” disposition means “the call was never connected.” (Dkt. 329-1, Ex. G at 496.) Only
17
     connected calls can be an NDNC violation. Shuckett v. DialAmerica Mktg., Inc., No. 17CV2073-
18
     LAB (KSC), 2019 WL 3429184, at *3 (S.D. Cal. July 30, 2019) (finding that call must have
19
     “manifested itself in some way on [the] phone” for plaintiff to have “‘received’ a call”). These
20
     unconnected calls should never have been included in the class.
21
            Based on the explanation of Verkhovskaya’s methodology that Plaintiffs provided to the
22
     Court during class certification, the Court understood Verkhovskaya to have “identified calls that
23
     were completed and had non-zero durations.” (Dkt. 223 at 5:10-11 (emphasis added).) That
24
     1
25   In Plaintiffs’ motion to modify the classes (Dkt. 372), they argued for excluding 720,289 calls
   and 77,961 phone numbers from the do not call class as calls with a no answer disposition and
26 zero second duration. (Dkt. 372 at 3.) In addition, Plaintiffs attempted to remove an additional
   51,384 phone numbers from the class because after the removal of the zero duration calls and
27 phone numbers, along with other changes, there was only one call remaining in a 12-month period,
   rather than the two calls required under 47 U.S.C. § 227(c)(5). (Dkt. 372 at 4.) Realogy has no way
28 of verifying the accuracy of these numbers because Verkhovskaya has never disclosed which calls
   in her class are zero-second calls.
                 DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                           Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                      6
     Case 3:19-cv-03309-JD          Document 396      Filed 01/21/25      Page 11 of 16



 1 was not correct. Plaintiffs in fact included hundreds of thousands of “No Answer” zero-duration

 2 calls in their NDNC class. In their motion to modify the classes, Plaintiffs acknowledged that

 3 zero-duration calls were included and attempted to remove all zero-duration calls with a “No

 4 Answer” disposition, for a total change of 720,289 fewer calls, and 77,961 fewer telephone

 5 numbers. (Dkt. 372 at 4.) As the Court commented at the hearing: “Calls of zero duration with

 6 disposition - - no answer, - - and all of a sudden, now, what I was told by your expert, last time,

 7 when I certified the class, that she had cleaned all those up. Now you want to exclude 720,000

 8 calls. That’s a lot.” (Dkt. 388 at 9:1-5.)

 9          Accordingly, the settlement class definition excludes telephone numbers that only
10 received zero-duration “No Answer” calls. Excluding those calls comports with the requirements

11 of a settlement to be fair, reasonable, and adequate. See e.g., Chinitz v. Intero Real Est. Servs.,

12 No. 18-CV-05623-BLF, 2022 WL 16528137, at *4 (N.D. Cal. Oct. 28, 2022) (narrowing

13 definition of previously-certified class at settlement to, among other things, exclude zero-

14 duration calls); see also Brown v. Hain Celestial Grp., Inc., No. 3:11-CV-03082-LB, 2015 WL

15 12915098, at *3 (N.D. Cal. Oct. 8, 2015) (approving settlement class narrower in scope than

16 previously-certified classes).

17          Soundex Name-Matching
18          Plaintiffs’ theory of liability is that Realogy Brokerage Group can be held liable for calls
19 made by independent-contractor local realtors who worked under the Coldwell Banker brand and

20 associated with brokerages owned by Realogy Brokerage Group. This theory’s necessary first

21 step is to identify calls made by Coldwell Banker independent realtors—because Realogy

22 Brokerage Group is not even arguably responsible for calls made by other people. Verkhovskaya

23 proposed to do this by using a software program, Soundex, that analyzes whether a particular

24 name “sounds similar” to the names of Coldwell Banker agents. But this methodology is grossly

25 flawed. Multiple courts have criticized Verkhovskaya’s name-matching methodology for failing

26 to identify the named plaintiff as part of the class and requiring individualized additional

27 evidence to add them to the class. See e.g., Sandoe v. Bos. Sci. Corp., 333 F.R.D. 4, 8 (D. Mass.

28 2019); Wilson v. Badcock Home Furniture, 329 F.R.D. 454, 457 (M.D. Fla. 2018).
                 DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                            Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                       7
     Case 3:19-cv-03309-JD        Document 396         Filed 01/21/25      Page 12 of 16



 1          Here, neither Realogy nor the Court can tell exactly how flawed Verkhovskaya’s name-
 2 matching is because she refused to disclose the list of alleged matches to prevent it from being

 3 checked. (Dkt. 206-1, Ex. 7 ¶ 84.) But Plaintiffs’ motion to modify the class reveals that the

 4 flaws are massive. Plaintiffs proposed excluding 10,058 phone numbers from the NDNC class

 5 and 24,113 phone numbers from the Prerecorded Messages class in their motion to modify the

 6 classes, because they were “inexact match[es].” (Dkt. 372 at 3.) Specifically, recorded messages

 7 produced by the third-party dialing services included numerous calls where a competing

 8 brokerage was identified, as well as calls made for non-real estate purposes, and calls that never

 9 mentioned Coldwell Banker. (Dkt. 372 at 3-4.) At trial, this evidence would be devastating to

10 Plaintiffs’ claims. One recording, for example, states: “Hey, this is Billy McElroy with Keller

11 Williams Realty. I was actually calling about your house for sale. …” Van Oort Decl. Ex D

12 (MOJO-Chinitz-0012081). Even worse for Plaintiffs, in an extraordinary footnote in their motion

13 to modify, they revealed that class representative Sarah Bumpus’s own claim cannot be included

14 in their revised class without individual evidence. Apparently, the new matching methodology

15 Plaintiffs proposed did not identify Chris Mitchell, the person who called Bumpus. (See Dkt. 372

16 at 3 n.3; Dkt. 118 ¶¶ 157-64.)

17          Plaintiffs’ inability to connect Coldwell Banker to calls without considering individual
18 evidence means there can be no class. For this reason alone, at trial both classes would either be

19 decertified or lose on the merits for failure to prove classwide liability.

20          Business Phone Numbers
21          Another problem Plaintiffs would face at trial is that Verkhovskaya failed to effectively
22 screen the classes to eliminate phone numbers used primarily for business purposes, and that

23 screening cannot occur without considering individual evidence. Only residential numbers can

24 support an NDNC claim, 47 U.S.C. § 227(c), 47 C.F.R. § 64.1200(c)(2), and all business

25 landlines are required to be excluded from a prerecorded message claim, 47 U.S.C. §

26 227(b)(1)(B); 47 C.F.R. § 64.1200(a)(3). Whether a called number was a “residential” or

27 “business” phone number is an individual liability issue that turns on individual evidence about

28 how the number was used and held out. See Chennette v. Porch.com, Inc., 50 F.4th 1217 (9th
                 DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                            Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                       8
     Case 3:19-cv-03309-JD        Document 396        Filed 01/21/25      Page 13 of 16



 1 Cir. 2022). At trial, the jury would learn that both the NDNC class and the Prerecorded

 2 Messages class include numerous phone numbers that were obvious business lines, such as

 3 Anthony’s Trattoria & Pizzeria, Collier County Florida Water Sewer District, L.A. Insurance,

 4 Palo Alto Health Care System, Lighthouse Appraisals, and Pisces Restaurant. (Dkt. 206-1, Ex. 7

 5 at ¶ 62.) This proof would require either decertification or a complete defense verdict.

 6          Established Business Relationship
 7          Another problem Plaintiffs would face at trial is that individual evidence would show that
 8 many class members may have had an “established business relationship” with the person or

 9 entity who called them. See Sapan, 2021 WL 5302908 (Donato, J.) (denying class certification

10 because of individual issues raised by “established business relationship” rule). For example, the

11 named plaintiff, Sarah Bumpus, was selling her house with a Coldwell Banker-affiliated realtor

12 at the time she claims that she was called in violation of the TCPA. Her phone records show that

13 she was affirmatively contacting Coldwell Banker-affiliated realtors to communicate about

14 selling her home. (Dkt. 205-1, Ex. 7 at 51:1-19, 59:13-60:23, 63:10-18, 67:15-68:4.) At summary

15 judgment, the Court held that “the record demonstrates a genuine dispute of material fact about

16 the calls made to Bumpus, and whether Bumpus had an established business relationship.” (Dkt.

17 269 at 2.) That the named plaintiff consented to be called is a serious factual flaw in Plaintiffs’

18 case. Further, Verkhovskaya did no screening of the NDNC class to remove phone numbers with

19 established business relationships. As a result, there are numerous examples of established

20 business relationships in evidence, such as calls thanking the recipient for attending an open

21 house. (See e.g., Dkt. 376 at 21.)

22          Evidence of Registration on Do Not Call List
23          Another problem with Plaintiffs’ class claims is that do-not-call protection applies only to
24 a person who “has registered his or her telephone number on the national do-not-call registry,”

25 47 C.F.R. § 64.1200(c)(2), and proving registration requires individual evidence. If a number is

26 placed on the do-not-call registry by one person, then is disconnected and assigned to someone

27 else, that new person has no legal basis for a do-not-call claim. See Rombough v. Robert D.

28 Smith Ins. Agency, Inc., 2022 WL 2713278, at *2–3 (N.D. Iowa June 9, 2022) (dismissing DNC
                 DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                            Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                       9
     Case 3:19-cv-03309-JD        Document 396        Filed 01/21/25      Page 14 of 16



 1 claim because plaintiff did “not allege that she registered her telephone number on the do-not-

 2 call registry,” even though her number was on the registry); Sandoe, 333 F.R.D. at 10 (holding

 3 that the plaintiff “failed to demonstrate that common proof can be used to establish…whether the

 4 individual who received the call was the individual who registered his or her name on the Do-

 5 Not-Call Registry.”).

 6          Conclusion
 7          These problems are only the beginning of the challenges Plaintiffs would face at trial. But
 8 they are more than enough to show that the $20 million fixed-fund settlement is more than fair,

 9 reasonable, and adequate compared to the many, serious flaws in their claims. The trial record

10 would in fact compel decertification, as this Court previously intimated in response to Plaintiff’s

11 motion to modify the class. (Dkt. 388 at 2:24-3:1 (“I don’t see any option here but to decertify

12 this class. I mean, you have now persuaded me that there’s just no commonality of proof.

13 There’s no predominance.”).) And if the class is not decertified, judgment as a matter of law will

14 be required for Realogy because Plaintiffs manifestly cannot prove classwide liability. See, e.g.,

15 True Health Chiropractic Inc. v. McKesson Corp., 2021 WL 4818945 (N.D. Cal. Oct. 15, 2021)

16 (liability turned on whether each plaintiff used a standalone fax machine or online fax service

17 and therefore could not be resolved in common).

18              2. The litigation classes would also lose on a common basis for several reasons.
19          In addition to facing decertification or judgment at trial because of individual issues,
20 Plaintiffs would also face the risk of loss on a common basis for several reasons.

21          Vicarious liability. First, Realogy did not make any of the phone calls challenged in this
22 case. The only calls that Realogy could even arguably be held liable for were placed by

23 independent contractor real estate agents, and Plaintiffs’ attempts to hold Realogy vicariously

24 liable for these calls at trial would have failed. Realogy did not authorize any calls in violation of

25 the TCPA, there was no evidence of any reliance by any call recipient on any representation of

26 authorization as would have been necessary to support an apparent authority theory, and there

27 was no evidence that Realogy ratified any violative calls after the fact. At the close of evidence,

28
                 DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                            Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                       10
     Case 3:19-cv-03309-JD        Document 396        Filed 01/21/25      Page 15 of 16



 1 Realogy would be entitled to judgment as a matter of law for lack of vicarious liability, as

 2 demonstrated in its trial brief. (Dkt. 333 at 7-11.)

 3          Inadmissible spreadsheets of phone calls. Second, Plaintiffs’ claims depend entirely on
 4 spreadsheets created and produced by third parties Mojo, PhoneBurner, and WAVV that report

 5 certain data regarding calls made using their systems. But Plaintiffs failed to elicit testimony

 6 from two of these third parties to authenticate their records as accurate and reliable business

 7 records. Moreover, the evidence that was obtained demonstrates that these records contain

 8 inadmissible hearsay statements by the third-party real estate agents who made the calls. Realogy

 9 therefore has moved in limine to exclude the dialing records. (See Dkt. 345, Defendants’ Motion

10 in Limine No. 3.) Without these inadmissible records, Plaintiffs’ claims would fail as a matter of

11 law. Cf. Sapan, 2021 WL 5302908, at *2 (Donato, J.) (commenting in denying certification of a

12 TCPA class that plaintiff “dropped the ball during discovery”).

13          Losing class representatives. Third, the individual class representatives either will not
14 appear at trial or will lose on the merits. During the litigation, several class representatives were

15 dropped after it was discovered that their phone numbers were used extensively for business

16 purposes, disqualifying any calls to those numbers as TCPA violations. As a result, only three

17 class representatives remained. One of those, Micheline Peker, was ill and unable to serve as a

18 representative at trial. (Dkt. 353 at 1.) This left Sarah Bumpus as the only remaining class

19 representative for the NDNC class. But Bumpus’s phone records showed that she had only

20 received one call from a Realogy-affiliated real estate agent (Dkt. 206-1, Ex. 7 at ¶¶ 24-28), while

21 an NDNC violation requires two calls within a 12-month period. In addition, Bumpus was selling

22 her house with a Realogy brokerage at the time of that lone call (Dkt. 205-1, Ex. 7 at 51:1-19,

23 59:13-60:23, 63:10-18, 67:15-68:4), resulting in an established business relationship that permitted

24 Realogy-affiliated agents to call her. 47 U.S.C. § 227(a)(4) (defining “telephone solicitation”); 47

25 C.F.R. § 64.1200(f)(15) (defining “established business relationship”). For the Prerecorded

26 Message Class, Cheryl Rowan was the only remaining class representative, but she too was

27 destined to lose at trial, not least because she could not prove that she actually received any

28 prerecorded-message calls. (Dkt. 205-1, Ex. 33 at 62:1-18, 64:1-69:24.) If, as seems inevitable,
                 DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                            Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                       11
     Case 3:19-cv-03309-JD        Document 396        Filed 01/21/25        Page 16 of 16



 1 Bumpus and Rowan lost their individual claims, the classes would have to be decertified. See

 2 Reyes v. Educ. Credit Mgmt. Corp., 773. F. App’x 989, 990 (9th Cir. 2019).

 3 IV.      CONCLUSION
 4          For the reasons that Realogy summarized here and presented in much greater detail in its
 5 opposition to Plaintiffs’ motion to modify the litigation classes (Dkt. 329), trial brief (Dkt. 333),

 6 proposed verdict forms (Dkt. 334), joint pretrial statement (Dkt. 353), proposed jury instructions

 7 (Dkt. 354), and motions in limine (Dkts. 343-350), Plaintiffs faced imminent decertification or a

 8 merits loss at trial. Under Rule 23, the Court assesses whether the “relief provided for the class is

 9 adequate” by “taking into account,” among other things, the “risks … of trial.” Fed. R. Civ. P.

10 23(e)(2)(C)(i). Judged against those risks, the $20 million fixed settlement fund is fully adequate.

11 Realogy therefore respectfully requests the Court to grant preliminary approval of the Settlement

12 and authorize notice to be sent.

13

14    Dated: January 21, 2025                     Respectfully submitted,
15                                                By: /s/ Aaron D. Van Oort
16
                                                  FAEGRE DRINKER BIDDLE & REATH LLP
17                                                David J.F. Gross (SBN 290951)
                                                  david.gross@faegredrinker.com
18                                                4800 North Scottsdale Road, Suite 2200
                                                  Scottsdale, AZ 85251
19                                                Telephone: (480) 643-1850
20                                                Aaron D. Van Oort (pro hac vice)
                                                  aaron.vanoort@faegredrinker.com
21
                                                  2200 Wells Fargo Center
22                                                90 South 7th Street
                                                  Minneapolis, MN 55402
23                                                Telephone: (612) 766-7000
                                                  Facsimile: (612) 766-1600
24
                                                  Counsel for Defendants Realogy Holdings
25
                                                  Corp., Realogy Intermediate Holdings LLC,
26                                                Realogy Group LLC, and Realogy Brokerage Group
                                                  LLC (f/k/a NRT LLC)
27

28
                 DEFENDANTS’ BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                            Bumpus v. Realogy Holdings Corp, No. 3:19-cv-03309-JD
                                                       12
